Pro Se l (Rev. 12.’]6) Complaim for aCivi] Case

UNITED STATES DISTRICT CoURT

for the

Westem District of Missouri

Mr. Noe| J. P. Enge|

Division

ease No. l"`i»~ SQQ,(, *C\/e <;V_.» .-@p
(to be filled in by the Clerk 's Oj?ce)

 

 

Plaint{§(s)
(Write the full name of each plaintifth isfling this complaint
U`the names of all the plaintiffs cannot fit in the space above,
please write “see attached " in the space and attach an additional
page with the full list ofnames.)
..\.'..

N|arc Kasowitz, Ty Cobb, Jay Seku|ow, John Dowd

Jury Trial: (check one) m Yes -No

 

Dejendant(s)
(Write the full name of each defendant who is being sued lfthe
names ofali the defendants cannot fit in the space above, please
write "3ee attached ” in the space and attach an additional page
with thefull list afnames.)

COMPLAINT FOR A CIVIL CASE

l. The Parties to This Complaint
A. The Plaintil`i'(s)

Provide the information below for each plaintiff named in the complaint Attach additional pages if

needed
Name
Street Address
City and County
State and Zip Code
Teiephone Nurnber
E-mail Address

B. The Defendant(s)

|V|r. Noel J. P. Engel

 

35 Kyle Drive

 

Lampe, Stone

Missouri, 65681

 

(417) 527~2982

noe|enge|@gmai|.com

Provide the information below t`or each defendant named in the complaint, whether the defendant is an
individual, a government ageney, an organization, or a corporation For an individual defendant,
include the person's job or title (r;fknown). Attach additional pages if needed

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Pro Se l (Rev, 12i16) Com£|aim f`or a Civil Case

Defendant No. l
Name
Job or Title (i'fknown)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (r'fknown)

Def`endant No. 2
Name
Job or '[`itle (ifknown)
Street Address
Ciry and County
State and Zip Code
Telephone Number
E-mail Address (ifknown)

Det`endant No. 3
Name
.lob or Title (iflcnown)
Street Address _
City and County
State and Zip Code
Telephone Number

E-mail Address (i'fkm)wn)

Defendant No. 4
Name
Job or Title (ifknawn)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (i'fknown)

meanwle

 

Attorney
1633 Broadway

 

New York, New York, County Not Known
New York, New York, 10019
T; (212} 506-1700

 

not known

 

Ty Cobb
Attorney
1600 Pennsylvania Ave, NW
Washingtorl DC, County Not Known
District of Columbia, 20500

+1 202 637 6437

 

ty.eobb@hogan|ovel|s.com

 

Jay Sekulow
Attorney
P.O. Box 90555

Washin_gton DC noLknown_ __

 

District of Columbia, zip not known
757-226-2489

 

not known

 

John Dowd

Attorney
29 |ndustria| Park Drive, P.O. Box 1905

 

Binghamton, County not known

 

New Vork, 13904

 

Phone: (607) 744-3961 Fax: (607) 786-8683

 

not known

 

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I’ro Se l (Rcv, 12,’|6) Complaint for a Civil Casc

ll.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power}. Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question ease. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,00() is a diversity of citizenship case. ln a
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff

What is the basis for federal courtjurisdiction? (check allrharapply)
-Federal question l:l Diversity of citizenship

F ill out the paragraphs in this section that apply to this case.

A. lf the Basis for Jurisdiction ls a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.

See Attached Jurisdiction: il Venue: ll| for defendants failure to comply to the Cease & Desist Letter as
to reiated charges of other statutes `rn Jurisdiction; ll Venue: ||l. Also therefore P|aintitf Alleged|y:
Citing N|ultip|e Vio|ations of Conduct of the lV|issouri Bar & Conduct of the Federal Bar & Federal Court

Rules.

 

B. lf the Basis for Jurisdiction ls Diversity of Citizenship
l. The Plaintiff(s)

a. Ifthe plaintiffis an individual

Ti"le pialfl[il"lc, (name/'

, is a citizen ofthe

 

State Of (name)

 

b. lf the plaintiff is a corporation
Tl’l€ [}llElil’ltilc`f`5 (name)

, is incorporated

 

under the laws of the State of (mme)

 

and has its principal place of business in the State of fname)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the

same information for each additional plaintr`jjf)
2. The Defendant(s)

a. If the defendant is an individual

Th€ defendam, (name)

, is acitizen of

 

the State Of (name)

. Or is a citizen of

 

(foreign natian}

 

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IURISDICTION: H

The Court has ]urisdiction Federal question of ]urisdiction under the ]urisdiction 18 U.S. Code §
205 - Activities of officers and employees in claims against and other matters affecting the
Government, 28 CFR 5010 - Policy regarding obtaining information from, or records of,
members of the news media,' and regarding questioning, arresting, or charging members of the
news media 25 CFR 11.406 - Crirninal Coercion, 36 CFR 2.34 - Disorderly conduct, Federal
question of jurisdiction to 18 U.S. Code § 1513 - Retaliating against a witness, victim, or an
informant, 18 U.S. 18 U.S. Code § 1001 - Statements or entries generally Code § 1512 -
Tarnpering With a witness, victim, or an informant to the pursuant of 18 U.S. Code § 1001 -
Statements or entries generally & 18 U.S. Code § 1343 - Fraud by Wire, radio, or television also
in regards to in Television & question of jurisdiction 18 U.S. Code § 2261A - Stalking, 18 U.S.
Code § 1030 - Fraud and related activity in connection With computers, 18 U.S. Code § 2701 -
Unlawful access to stored communications 18 U.S. Code § 875 - Interstate communications 18
U.S. Code Chapter 73 - OBSTRUCTION OF ]USTICE, 18 U.S. Code § 242 - Deprivation of rights
under color of law, 42 U.S. Code § 1983 - Civil action for deprivation of rights, 10 U.S. Code §
920 - Art. 120. Rape and sexual assault generally, 18 U.S. Code Chapter 113B - TERRORESl\/|, 18 U.S.
Code § 2381 - Treason, 18 U.S. Code § 3 - Accessory after the fact.

Missouri Revised Statutes under ]urisdiction 455.010.1 Section 565.090.1 Section 565.253,
Prostitution 567.010. 567.020. 574.115 565.083 Section 565.090.1 Harassment, Invasion of Privacy
565.253, To Unlanul assembly-penalty 574.040, Animal Abuse Section 578.012.1 to Which
this Plaintiff is 1/8‘11 Native American under question of ]urisdiction to Which the Bureau of
Indian Affairs & Ancestry under diversity of citizenship & amount controversy is greater than
$75,000.00.

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VENUE: IH

Venue is proper pursuant to under the ]urisdiction 18 U.S. Code § 205 - Activities of officers and
employees in claims against and other matters affecting the Government, 28 CFR 50.10 - Policy
regarding obtaining information from, or records of, members of the news media; and
regarding questioning arresting, or charging members of the news media to 18 U.S. Code § 205
- Activities of officers and employees in claims against and other matters affecting the
Government, 25 CFR 11.406 - Criminal Coercion, 36 CFR 2.34 - Disorclerly conduct & to the
pursuant of 18 U.S. Code § 1513 - Retaliating against a Witness, victim, or an informant, 18 U.S.
Code § 1512 - Tampering with a witness, victim, or an informant, 18 U.S. Code § 1001 -
Statements or entries generally to the jurisdiction of 18 U.S. Code § 2261 A - Stall<ing, 18 U.S.
Code Chapter 73 - OBSTRUCTION OF ]USTICE, 18 U.S. Code § 1030 - Fraud and related
activity in connection with computersf 18 U.S. Code § 2701 - Unlawful access to stored
communications & 18 U.S. Code § 1343 - Fraud by Wire, radio, or television also in regards to in
Television to the pursuant of 18 U.S. Code § 875 - Interstate communications & to the pursuant
of 18 U.S. Deprivation of rights under color of law, 42 U.S. Code § 1983 - Civil action for
deprivation of rights, 10 U.S. Code § 920 - Art. 120. Rape and sexual assault general|y, 18 U.S. Code
Chapter 113B - TERROR|SM, 18 U.S. Code § 2381 - Treason, 18 U.S. Code § 3 - Accessory after the

fact.

Missouri Revised Statutes under Venue 455.010.1 Section 565.090.1 Section 574.115 565.083
Section 565.090.1Harassment, Invasion of Privacy 565.253 Prostitution 567.010. 567.020,
Urllawf‘ul assembly--penalty. 574.040, Animal Abuse Section 578.012.1 the defendant through is
the proper venue against the Parties are in the jurisdiction & Pro Se Plaintiff lives in the district
of jurisdiction 18 U.S. Code § 242 - Deprivation of rights under color of law to which this
Plaintiff is 1/8"‘ Native American under question of ]urisdiction to Which the Bureau Of lndian

Affairs.

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INTR ODUCTION

Count I. Plaintiff Alleges Defendant had participated in Willfully, Knowingly,
Recklessly participated in Acts of Malice & Negligence against the Plaintiff in Relation to M
N0.16-1124-CV-REL to which Defendant had Allegedly been involved in the Acts of which in the use of
Plaintiff’s Name & ldentity & in the use of which under Faise Pretenses of l\larne & ldentity in Regards to
which Defendant had participated in such acts resulting in Malice & Negligence by the Defendant

Actions in Relation to the Case.

ARG[LMENT

Plaintiff Alleges: Defendant had been involved in & Participated in Acts of Malice &
Negligence wherein Defendant had been involved in said stated Acts to Which is how the
Defendant had injured the Plaintiff in Participating in Stated Violations of Statutes to which the
Defendant being an Attorney Knowingly, Willfully, Recl<lessly participated in Violations of
Statutes stated thereof & also As Related To other cases (Case N0.16-1124-CV-REL )& involved in
which the Defendant had therefore Plaintiff Alleging the Defendant claims that Defendant had
not been involved in such participation & to which laws do not apply to Defendant in where the

Plaintiff is concerned

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Pro Se Plaintz`[jf Brie[

Plaintiff Alleges: From April 2016 to Present the Defendants had been participating in activities
that will fall under ]urisdiction II & Venue 111 in relation to the nature of the Suit. Piaintiff
Alleges that with Discovery Process to which the ongoing Allegations in regards to the
Defendant & wherein by the Plaintiff to the Defendant Which as a result of the Defendant
Actions loss of Rights, Mental & Emotional Harm caused by the Defendant Conduct as in
relation to the Defendant Actions & Behavior against the Plaintiff.

Plaintiff Alleges: Defendant in the ongoing actions in which Defendant Allegedly participated
in Violations of Stated Statutes under ]urisdiction 11 Venue 111 wherein the Stated Statutes in
which Plaintiff Alleges Defendant had therefore participated in the Violations of the Statutes
under the Violations of the Statutes against the Plaintiff in which caused the Plaintiff I-Iarm,
Mental & Emotional Distress 82 Physical Injury & to Which to also therein Financial I-larm by the
Defendants participation in the Actions against the Plaintiff.

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IURISDICHON H

Plaintijj‘AHeges under jurisdiction afCoa'e 18 U.S. Code § 912 - Ojjficer or employee ofthe United
States, to the Parsaant ofIS U.S. Code Chapter 25 COUNTERFEITING AND PORGERY, To the
Pnrsnant of 18 U.S. Code § 115 » Infiuencing, impeding or retaliating against a Federal official by
threatening or injuring a family member, To the Parsuant of 18 U.S. Code § 912 - Officer or employee of
the United States to the Pnrsnant of 18 U.S. Code § IOZSA - Aggranated identity theft in related to Case
N0.16-1124~CV-REL. To the Parsnant of 18 U.S. Code § 1513 - Retaliating against a witness victim, or
an informant To the Pursaant of 18 U.S. Code § 1512 - Tampering with a witness, eictiin, or an
informant To the Pursnant oflS U.S. Code Chapter 73 - OBSTRUCTION OF ]USTICE.

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Venue III

Plaintiijlleges under jurisdiction of Code 18 U.S. Code § 912 ~ Ojjficer or employee of the
Uniterl States, to the Pursaant of 18 U.S. Code Clzapter 25 COUNTERFEIHNG AND
FORGERY, To the Pursuant of 18 U.S. Code § 115 - Influencing, impeding or retaliating
against a Ferleral o)jcieial by threatening or injuring a family member, 1b the Parsuant of 18
U,S. Code § 912 ~ Ojjficer or employee oftlie Unite¢l States to the Parsuant of 18 U.S. Corle §
1028A s Aggravated identity theft in related to Case No.16-1124-CV-REL. To the Pursaant of
18 H.S. Code § 1513 s Retaliating against a witness, oietini, or an informant 1`0 the Pnrsaant of
18 U.S. Corle § 1512 - Tainpering with a roitness, oictim, or an informant To the Parsuant of 18
U.S. Code Cliapter 73 - OBSTRUCTION OF ]USTICE.

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Pro Se Plaintiff Brief Connt l

lmi_ws
18 U.S. Code § 912 - Ojficer or employee of the llnited States ............................................... 1
18 U.S. Code Cliapter 25 - COLINTERPEITING AND
PORGERY ............................................................................................................... II
18 U.S. Code § 1028A - Aggra'oate¢i identity theft ............................................................ III

18 U.S. Code § 1513 - Retaliating against a witness, victim, or an informant 18 U.S. Code §

1512 - Tampering with a witness, victim, or an

informant ............................................................................................................... IV
18 LI.S. Code Clzapter 73 - OBSTRUCTION OF]USTICE .................................................... V
Soarces:

http://www.lectlaw.com https://definitions.uslegal.com

https://www.lawserver.com http://law.justia.com https://www.law.cornell

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I. Plaintiff Cites: 18 H.S. Code § 912 - Ojj"icer or employee of the United States.

Whoever falsely assumes or pretends to be an officer or employee acting under the authority of
the United States or any department, agency or officer thereof, and acts as such, or in such
pretended character demands or obtains any money, paper, document or thing of value, shall
be fined under this title or imprisoned not more than three years, or both.

Too Add too which under the 18 U.S. Code § 912 - Officer or employee of the United States 8c
Under 18 U.S. Code § 205 - Activities of officers and employees in claims against and other
matters affecting the Government Additional Counts of Charges to be Added against the
Defendants, too add to the Charges of 18 U.S. Code § 1028A - Aggravated identity theft.

(a) Offenses. _

(1)1n general.-

Whoever, during and in relation to any felony violation enumerated in subsection (c),
knowingly transfers, possesses, or uses, without lawful authority, a means of identification of
another person shall_, in addition to the punishment provided for such felony, be sentenced to a
term of imprisonment of 2 years.

(2)Terrorism offense.-

Whoever, during and in relation to any felony violation enumerated in section 2332b(g)(5)(8),
knowingly transfers, possesses, or uses, without lawful authority, a means of identification of
another person or a false identification document shall, in addition to the punishment provided
for such felony, be sentenced to a term of imprisonment of 5 years.

(b)Consecutive Sentence.~l\lotwithstanding any other provision of law-

(1) a court shall not place on probation any person convicted of a violation of this section;

(2) except as provided in paragraph (4), no term of imprisonment imposed on a person under
this section shall run concurrently with any other term of imprisonment imposed on the person
under any other provision of law, including any term of imprisonment imposed for the felony
during which the means of identification was transferred, possessed, or used ,'

(3) in determining any term of imprisonment to be imposed for the felony during which the
means of identification was transferred, possessed, or used, a court shall not in any way reduce
the term to be imposed for such crime so as to compensate for, or otherwise take into account,
any separate term of imprisonment imposed or to be imposed for a violation of this section; and
(4) a term of imprisonment imposed on a person for a violation of this section may, in the
discretion of the court, run concurrently, in whole or in part, only with another term of
imprisonment that is imposed by the court at the same time on that person for an additional
violation of this section, provided that such discretion shall be exercised in accordance with any
applicable guidelines and policy statements issued by the Sentencing Commission pursuant to
section 994 of title 28.

(c)Definition.-For purposes of this section, the term “felony violation enumerated in

subsection (c)" means any offense that is a felony violation of -T

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(1) section 641 (relating to theft of public money, property, or rewards [1]), section 656 (relating
to theft embezzlement or misapplication by bank officer or employee), or section 664 (relating
to theft from employee benefit plans);

(2) section 911 (relating to false personation of citizenship);

(3) section 922(a)(6) (relating to false statements in connection with the acquisition of a firearm);
(4) any provision contained in this chapter (relating to fraud and false statements), other than
this section or section 1028(a)(7);

(5) any provision contained in chapter 63 (relating to mail, bank, and wire fraud);

(6) any provision contained in chapter 69 (relating to nationality and citizenship);

(7) any provision contained in chapter 75 (relating to passports and visas),'

(8) section 523 of the Gramm~Leach»Bliley Act (15 U.S.C. 6823) (relati_ng to obtaining customer
information by false pretenses);

(9) section 243 or 266 of the Immjgration and Nationality Act (8 U.S.C. 1253 and 1306) (relating
to willfully failing to leave the United States after deportation and creating a counterfeit alien
registration card);

(10) any provision contained in chapter 8 of title 11 of the immigration and Nati.onality Act (8
U.S.C. 1321 et seq.) (relating to various immigration offenses); or

(11) section 208, 811, 1107(1)), 11288(a), or 1632 of the Social Security Act (42 U.S.C. 408, 1011,
1307(b), 1320a-7b(a), and 1383a) (relating to false statements relating to programs under the
Act).

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II. Plai'nti]j‘(,`iting: 18 U.S. Code Chapter 25 - COLUVTERFEITING AND FORGERY

Plainti)j”Al'leges: Under Which in the Grand ]ury Duty 18 U.S. Code § 505 - Seals of courts;
signatures of judges or court officers Whoever forges the signature of any judge, register, or
other officer of any court of the United States, or of any Territory thereof, or forges or
counterfeits the seal of any such court, or knowingly concurs in using any such forged or
counterfeit signature or seal, for the purpose of authenticating any proceeding or document, or
tenders in evidence any such proceeding or document with a false or counterfeit signature of
any such iudge, register, or other officer, or a false or counterfeit seal of the court, subscribed or
attached thereto, knowing such signature or seal to be false or counterfeit, shall be fined under

this title or imprisoned not more than five years, or both. As Related to the case.

Plaintijj‘Alleges: Too Explain the Letter to the United States Marshals & Stated Injunction in
Regards to Federal Court Status under 18 U.S. Code § 506 - Seals of departments or agencies to
the office of Procurement under which the Use of the United States Marshal Badge, lnsignia,
Naine & therefore the lnjunction to U. S. Attorney & use of Name, to which the Apostill_e in
Rega_rds to this Mr. Engel on Facebook & Twitter Falls under stated lurisdiction In Regards to
the Case to the Added Charges of 18 U.S. Code § 506 - Seals of departments or agencies

18 U.S. Code § 506 - Seals of departments or agencies

Authorities (CFR)

prev l next

(a) Whoever~

(1_) falsely makes, forges, counterfeits, mutilates, or alters the seal of an

(a) Whoever~

(1) falsely makes, forges, counterfeits, mutilates, or alters the seal of any department or agency
of the United States, or any facsimile thereof,'

(2) knowingly uses, affixes, or impresses any such fraudulently made, forged, counterfeited,
mutilated, or altered seal or facsimile thereof to or upon any certificate, instrument
com_mission, document, or paper of any description; or

(3) with fraudulent intent, possesses, sells, offers for sale, furnishes, offers to furnish, gives
away, offers to give away, transports, offers to transport, imports, or offers to import any such
seal or facsimile thereof, knowing the same to have been so falsely made, forged, counterfeited,
mutilated, or altered,

shall be fined under this tit.le, or imprisoned not more than 5 years, or both.

(b) l\lotwithstanding subsection (a) or any other provision of law, if a fo.rged, counterfeited,
mutilated, or altered seal of a department or agency of the United States, or any facsimile

thereof, is -

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(1) so forged, counterfeited, mutilated, or altered,'

(2) used, affixed, or impressed to or upon any certificate, instru ment, commission, document or
paper of any description; or

(3) with fraudulent intent, possessed, sold, offered for sale, furnished, offered to furnish, given
away, offered to give a.way, transported, offered to transport imported, or offered to import,
with the intent or effect of facilitating an alien’s application .for, or receipt of, a Federal benefit to
which the alien is not entitled, the penalties which may be imposed for each offense under
subsection (a) shall be two times the maximum f.ine, and 3 times the maximum term of
imprisonment, or both, that would otherwise be imposed for an offense under subsection (a).
(c) For purposes of this sectionmm

(1) the term ”Federal benefit” meansmo

(A) the issuance of any grant, contract loan, professional license, or commercial license
provided by any agency of the United States or by appropriated funds of the United States; and
(B) any retirement, welfare, Social Security, health (including treatment of an emergency
medical condition in accordance with section 1903(v) of the Social Secu.rity Act (1.9 [1] U.S.C.
1396b(v))), disability, veterans, public housing, education, supplemental nutrition assistance
program benefits,[2] or unemployment benefit, or any similar benefit for which payments or
assistance are provided by an agency of the United States or by appropriated funds of the
United States; and

(2) each instance of forgery, counterfeiting mut_il_ation, or alteration shall constitute a separate

offense under this section.

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III. Plaint:'fj`Citing: 18 U.S. Code § IOZSA - Aggrat)ated identity theft

(a) Offenses._ Defendant had participated in Related Activity under the Direction of multiple
Crimes related to other cases in which the Plaintiff Alleges that the Defendant had participated
in the Identity Theft & therefore in regards to the Resu its of which the Plaintiff had acting with
Malice, l\legligence, Knowingly, Will_fu_lly, Recl<lessly participated in the Activities that Resulted

in Which the Defendants participation in the actions thereof involving multiple Defendants.

Wherein Plaintiff Alleges that the Defendant had in Participating in the acts of ]urisdiction II
Venue IH under which the Defendants actions with Malice & Negligence in which the Actions
of Such Resulted in the Defendants in other cases participation in which Defendant Actions
Pla'mtiff Alleges Defendant Knowingly, Willfully, Recklessly participated in the Actions against
the Plaintiff resulting in ongoing Actions by the Defenda_nts involvement

Plairztiijlleges: Under Records of Mental I-Iealth of the Defendant to which the Plaintiff
Alleges the Defendants actions were of Malice & Negligence against the Plaintiff as Related to
Case No.16-1124-CV-REL.

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IV. Plez'ntiff Citing: 18 U.S. Code § 1513 - Retaliuting against a witness, victim or an
informant 18 U.S. Code § 1512 - Tampering with a witness, victim, or an informant

Plaintijj“Alleges: In the Definitions by how the Defendants had been Communicating to this
Mr. Engel Alleges in Particularly the TV Media will therefore in they're Pattern of Cond_uct will
Therefore Be Evidence with Regards to Twitter under which in Relation to the jurisdiction ll
Venue III of the Laws under Other Statutes to Explain in Relation to the Case 18 U.S. Code §
1513 - Retaliating against a witness, victim, or an informant 18 U.S. Code § 1512 - Tampering
with a witness, victim, or an informant 18 U.S. Code Chapter 73 - OBSTRUCT[ON OF ]USTICE
By how the Defendants had been Participating in how the Defendants had been
Communicating Electronically to the Plaintiff Alleges will therefore be evidence of 18 U.S. Code
§ 2261A - Stall<ing Section Seven under Electronic Surveillance in Relation to which in ongoing
Evidence of Twitter & Facebook & in Relation to the Cease & Desist Letter 8c Case l.\lo.'16-1124~
CV-REL everything they had claimed will therefore in the Defendants not using they're names
in TV Broadcast in Regards to the Defendants i.n Part will demonstrate to the Court how the
Defendants had Pierced the Corporate Veil will therefore be Pl_ai_ntiff Alleges that the
Defendants had Plaintiff Mr. Engel Alleges Defendants in Malice in which Plaint.iff Alleges Had
Knowingly, Willfully, Recklessly had Negligently participated in the ongoing Actions against
the Plaintiff in Cases to be Filed against the Defendants with the Blocking of this Mr. Engel
Media will therefore also be evidence in the letter that stated under the Direction of KY?) too
which will also be evidence of the Defendants had Allegedly with Ma.lice, Knowingly, Willfully,
Recl<iessly Participating in what the Allegedly in Establishing a Pattern of Conduct of
Intimidation in Which the Plaintiff Al.leges the Defendants had with Malice in the Pattern of
Conduct to which Malice in Industry Standards of Conduct & Company Policy will therefore
under the Pursuant of 18 U.S. Code § 1513 - Retaliating against a witness, victim, or an
informant 18 U.S. Code § 1512 - Tampering with a witness, victim, or an informant be enough
evidence in Regards to lnjunctions & Warrants in how the Defendants had been
Comm'unicating to the Plaintiff with Malice Under 18 U.S. Code § 1513 - Retaliati.ng against a
wimess, victim, or an informant

Section (e) Whoever knowingly, with the intent to retaliate, takes any action harmful to any
person, including interference with the lawful employment or livelihood of any person, for
providing to a law enforcement officer any truthful information relating to the commission or
possible commission of any Federal offense, shall be fined under this title or imprisoned not
more than 10 years, or both.

To The Pursuant of 18 U.S. Code § 1512 - Tampering with a witness, victim, or an informant

(C) prevent the communication by any person to a law enforcement officer or judge of the
United States of information relating to the commission or possible commission of a Federal
offense or a violation of conditions of probation, parole, or release pending judicial proceedings;
shall be punished as provided in paragraph (3).

(2) Whoever uses physical force or the threat of physical force against any person, or attempts to
do so, with intent to_

(A) influence, delay, or prevent the testimony of any person in an official proceeding,'

(B) cause or induce any person to_

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(i) withhold testimony, or withhold a record, document or other object from an official
proceeding;

(ii) alter, destroy, mutilate, or conceal an object with intent to im pair the integrity or availability
of the object for use in an official proceeding;

(iii) evade legal process summoning that person to appear as a witness, or to produce a record,
document or other object in an official proceeding; or

(iv) be absent from an official proceeding to which that person has been summoned by legal
process; or

(C) hinder, delay, or prevent the communication to a law e

(b) Whoever knowingly uses intimidation threatens, or corruptly persuades another person, or
attempts to do so, or engages in misleading conduct toward another person, with intent toe
(1) in.flue.nce, delay, or prevent the testimony of any person in an official proceeding,‘

(2) cause or induce any person to-

(A) withhold testimony, or withhold a record, document or other object from an official
proceeding;

(B) alter, destroy, mutilate, or conceal an object with intent to impair the object’s integrity or
availability for use in an official p'roceedi.ng;

(C) evade legal process summoning that person to appear as a witness, or to produce a record,
document or other object in an official proceeding; or

(D) be absent from an official proceeding to which such person has been summoned by legal
process.

Therefore in Relation to the Legal Process under Which Case No.1.6-1124-CV-REL Legal
Proceeding to the Pursuant of the Stated Federal Law that therefore Apply to Everyone in the
]urisdiction of the United States Under Diversity of Citizenship see the Cou rt Forms.
Anything in Regards to the LAW not applying in Regards to this Mr. Engel will therefore also
be evidence of Knowingly, W'illfully, Recl<lessly with Malice & Negligence in regards to the
Defendants ongoing participation

Legal Definition of ll\lTIl\/IIDATE:

Means to intentionally say or do something which would cause a person of ordinary
sensibilities to be fearful of bodily harm. lt is not necessary to prove that the victim was actually
frightened, and neither is it necessary to prove that the behavior of the person was so violent
that it was likely to cause terror, panic or hysteria.

lntimidation Law and Legal Definit_ion:

lnti_midation means to make fearful or to put into fear. Generally, proof of actual fear is not
required in order to establish intimidation It may be inferred from conduct words, or
circumstances reasonably calculated to produce fear.

Intirnidation of witnesses or victims happens when a person, with the intent to or with the
knowledge that his/her conduct will obstruct impede, impair, prevent or interfere with the
administration of criminal justice, intimidates or attempts to intimidate any witness or victim to:

(1) Refrain from informing or reporting to any law enforcement officer, prosecuting official or
judge concerning any information, document or thing relating to the commission of a crime.

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(2) Give any false or misleading information or testimony relating to the commission of any
crime to any law enforcement officer, prosecuting official or judge

(3) Withhold any testimony, information, document or thing relating to the commission of a
crime from any law enforcement officer, prosecuting official or judge.

(4) Give any false or misleading information or testimony or refrain from giving any testimony,
in.formation, document or thing, relating to the commission of a crime, to an attorney
representing a criminal defendant

(5) Elude, evade or ignore any request to appear or legal process summoning him to appear to
testify or supply evidence

(6) Absent himself from any proceeding or investigation to which he has been legally
summoned

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V. Pl¢iini.`i]jc Citing: 18 LI.S. Code Chapter 73 - OBSTRUCTION OF]USTICE

Plaintiff Alleges: Summon's, Subpoena's & additional Court Paperwork such as Wa rrants
Under the Apostille which l have a Copy of in Regards, Acting in Capacity of & also as a Grand
lury On Call l\/lember l can 8c Will Sign them, therefore will be coming from this Mr. Engel on
Facebook & Twitter in this Address in Which the Cease & Desist Letter under 18 U.S. Code §
1513 - Retaliating against a witness, victim, or an informant 18 U.S. Code § 1512 - Tampering
with a witness, 18 U.S. Code Chapter 73 - OBSTRUCTION OF ]USTICE in regards to the United
States Federal Court ln Relation To Case No.16-1124-CV-REL to which l sent a copy of Said
Cease & Desist Letter to United States Federal Court Magistrate ]udge Robert E. Larsen to
Everyone can therefore WILL Be Subject to Federal Court lndictment in regards to the Pursuant
of 18 U.S. Code§ 1513 ~ Retaliating against a witness, victim, or an informant 18 U.S. Code §
1512 - Tampering with a witness, 18 U.S. Code Chapter 73 - OBSTRUCTION OF ]USTICE.

In therefore also Charges of 18 U.S. Code § 115 - lnfluencing, impeding or retaliating against a
Pederal official by threatening or injuring a family member, 18 U,S. Code § 912 s Officer or
employee of the United States Whoever falsely assumes or pretends to be an officer or employee
acting under the authority of the United States or any department agency or officer thereof, and
acts as such, or in such pretended character demands or obtains any money, paper, document
or thing of value, shall be fined under this title or imprisoned not more than three years, or
both. Under which in Relation To 18 U.S. Code § 1028A - Aggravated identity theft ln Relation
To the Case under Case No.16-1124~CV-REL as a United States Pederal Court officer Ol\l CALL
Grand jury Member in relation to the case the Defendants are therefore subject to United States
Federal Court lndictment too which this Phone number & Address you're Summons are coming
from in Regards to which From this Mr. Engel on Facebook & Twitter in Regards a Subpoena to
the Stone County Missouri Assessor's office & to the Missouri Department of Revenue &
everywhere since l had moved to Missouri from l\lorfolk, Nebrasl<a will therefore prove to the
Court as Evidence in the Case in Regards to this Address where you're Summons are Coming
from in Regards to the Plaintiff This Mr. Engel to which will Demonstrate to the Court under
Missoui'i State Statutes invasion of Privacy 565.253 & Relation To other Statutes in Relation to
Case No.16-1124-CV-REL, 18 U.S. Code § 912 - Officer or employee of the United States
Whoever falsely assumes or pretends to be an officer or employee acting under the authority of
the United States, in which anything in Regards to this Mr. Engel on Facebook & Twitter under
False Pretenses Even in A Law Suit the Defendants are NOT to be Doing ANY of WHAT they
had been doing which if the Defendants had Legal Representation the Defendants are l\lOT
Supposed to do anything because that is what a Lawyer will tell you in order for a Lawyer to

Represent you.

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Pro Se l (Rev lZ/il‘:i} Complaint for a Civi| Casc

lll.

lV.

 

b. lf the defendant is a corporation
The defendant, (name) , is incorporated under
the laws of the State of (name} , and has its

principal place of business in the State of (name)

Or is incorporated under the laws of (/orei'gn narj@n)

and has its principal place of business in (name)

(Ifmoi‘e than one defendant is named in the complaint attach an additional page providing the
same information for each additional defendant.)

The Amount in Controversy

L»J

The amount in controversyethe amount the plaintiff claims the defendant owes or the amount at
stakeeis more than $75,0()(), not counting interest and costs of court, because (exp!m'n):

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights, including
the dates and places of that involvement or conduct If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph Attach additional pages if needed.

P|aintiff A||eges Defendants involvement in allegations to the Jurisdiction || Venue |l| of the case to which as
Defendants involvement as a part of the President Defendant Donaid J. Trump in other Reiated Cases to which
Defendants involvement in the other cases as related to the Defendants attorneys during the time frame of the
Defendant Donald J. Trump during the Campaign & after as President Donald J. Trump Legal Team during the
stated Time frame under Fai|ure to Comply to the Cease & Desist Letter under legal advisement

 

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts Include any
punitive or exemplary damages claimed, the amounts and the reasons you claim you are entitled to actual or
punitive money damages

For |ndictments against the Defendants as Related to Case No.16-1124-CV-REL

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Pro Se l (Rev, 12116) Complaint for a Civil Case

 

Certit'lcation and Closing

Under Federal Rule of Civi] Procedure l ], by signing below_, l certify to the best of my knowledge, information,
and belief that this complaint (l) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, Will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule l l.

A.

For Parties Without an Attorney

l agree to provide the Clerk’s Otiice with any changes to my address where case_related papers may be
served. l understand that my failure to keep a current address on file with the Clerk’s Off`ice may result

in the dismissal of my case.

Date of signing:

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of l,aw Firm

Street Address

State and Zip Code
Telephone Number
E-mail Address

071'221'201 7

Mr%@/W%

N|r. Noe|J. P. Enge|

 

07/221'2017

m _ Pro Se: MrM

Pro Se: Mr. Noe| J. P. Engel
Pro Se
Pro Se

 

 

 

35 Kyle Drive1 Lampe
Missouri, 65681
(4‘|7} 527-2982

noelengel@gmail.com

 

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